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                             Exhibit 24
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                                                      Exhibit 7
                                        Number of Individual Overpaid Claims
                                           January 1994 - December 2004


                                                                                              Individual Overpaid Claims
                                                                             With Positive            With Missing
               Product Name                          NDC                    Estimated AWP            Estimated AWP         Total
                                                                                                   (Number of Claims)
                                                                                                                           (3)+(4)
                    (1)                               (2)                         (3)                       (4)              (5)


 1.   ACETYLCYSTEINE 10% VIAL             49502018104                                   716                           58         774
 2.   ACETYLCYSTEINE 10% VIAL             49502018110                                 1,214                          173       1,387
 3.   ACETYLCYSTEINE 10% VIAL             49502018130                                 1,269                           40       1,309
 4.   ACETYLCYSTEINE 20% VIAL             49502018204                                   474                           63         537
 5.   ACETYLCYSTEINE 20% VIAL             49502018210                                   502                          143         645
 6.   ACETYLCYSTEINE 20% VIAL             49502018230                                   850                           82         932
 7.   ALBUTEROL 0.83 MG/ML SOLUTION       49502069703/49502069724                   166,982                            0     166,982
 8.   ALBUTEROL 0.83 MG/ML SOLUTION       49502069733/49502069729                     9,802                            0       9,802
 9.   ALBUTEROL 0.83 MG/ML SOLUTION       49502069760/49502069761                    33,590                            0      33,590
10.   ALBUTEROL 5 MG/ML SOLUTION          49502010501                                28,318                        2,355      30,673
11.   ALBUTEROL 5 MG/ML SOLUTION          49502019620                                59,964                        6,427      66,391
12.   ALBUTEROL 90 MCG INH REFILL         49502030327                                 1,709                          126       1,835
13.   ALBUTEROL 90 MCG INHALER            49502030317                               104,967                        6,137     111,104
14.   ALBUTEROL 90 MCG INHALER            49502033317                                40,836                        4,506      45,342
15.   CROMOLYN NEBULIZER SOLUTION         49502068902/49502068961                    74,781                          206      74,987
16.   CROMOLYN NEBULIZER SOLUTION         49502068912                                55,894                          716      56,610
17.   IPRATROPIUM BR 0.02% SOLN           49502068503/49502068524                   227,700                          131     227,831
18.   IPRATROPIUM BR 0.02% SOLN           49502068533/49502068529                    18,650                            1      18,651
19.   IPRATROPIUM BR 0.02% SOLN           49502068560/49502068561                    29,192                            7      29,199
20.   METAPROTERENOL 0.6% SOLN            49502067603/49502067624                    54,475                            0      54,475
      Total                                                                         911,885                       21,171     933,056




                                Source: Cols. (1)-(2): Current NDC Counts 12-2007.xls; Dey company website;
                                        Cols. (3)-(4): Dey claims data and transaction data.
